IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

In re:

M & G USA CORPORATION, ez‘ al.,l

Debtors.

 

Chapter 11

Case No. 17-12307 (BLS)
(Jointly Administered)

Obj. Deadline: July 23, 2018 at 4:00 p.m. (ET)
Hearing Date: July 25, 2018 at 11:00 a.m. (ET)

SEC()ND QUARTERLY APPLICATI()N FOR COMPENSATION
AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
ZIEHL & JONES LLP, AS CO-COUNSEL AND C()NFLICTS
COUNSEL F()R THE DEBTORS AND DEBTORS IN POSSESSION,
FOR THE PERIOD FROM FEBRUARY 1, 2018 THR()UGH APRIL 30, 2018

 

Name of Applicant:

Pachulski Stang Ziehl & J ones LLP

 

Authorized to Provide Professional Services
to:

Debtors and Debtors in Possession

 

Date of Retention:

Nunc Pro Tunc to October 30, 2017 by order
signed November 30, 2017

 

Period for Which Compensation and
Reimbursement is Sought:

February 1, 2018 through Aer 30, 20182

 

Amount of Compensation Sought as Actual,

 

 

 

Reasonable and Necessary: $336’004'50
Amount of Expense Reimbursement Sought

as Actual, Reasonable and Necessary: $ 20’636`14`
Rates are Higher than those Approved or

Disclosed at Retention? Yes__ No__ NO

If yes, Total Compensation Sought Using
Rates Disclosed in Retention Application :

 

 

 

' The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195),

Mossi & Ghisolfi International S.a r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.a r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and lndo Anierican
Investments, Inc. (9208). The Debtors' noticing address in these chapter ll cases is 450 Gears Road, Suite 240,

Houston, Texas 77067.

2 The applicant reserves the right to include any time expended in the time period indicated above in future

application(s) if it is not included herein

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Compensation Sought in this Application

 

 

Already Paid Pursuant to a Monthly $84,920.00
Compensation Order but not yet Allowed:

Expenses Sought in this Application Already

Paid Pursuant to a Monthly Compensation $4,'795.64
Order but not yet Allovved:

Number of Professionals Included in this 12

Application:

If Applicable, Number of Professionals in
this Application not Included in Staffing Plan 0
Approved by Client:

If Applicable, Difference Betvveen Fces
Budgeted and Cornpensation Sought for this
Period:

Number of Professionals Billing Fevver than
15 Hours to the Case During this Period:

 

 

($25,495.50)

 

 

 

 

 

This is a: monthly x interim final application

The total time expended for fee application preparation is approximately 3.0 hours
and the corresponding compensation requested is approximately $l,OO0.0().

PRIoR APPLICATIoNs FILED

 

  
      
 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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03/05/18 10/30/17 ~ 11/30/17 $243,369.00 $29,125.63 3243,369.00 $29,125.63
03/06/18 12/01/17-12/31/17 $183,773.00 $17,938.11 $183,773.00 $17,938.11
03/26/18 01/01/18~01/31/18 $162,408.00 $ 9,185.48 $162,408.00 33 9,185.48
05/22/18 02/01/18_02/28/18 $106,150.00 $ 4,795.64 $ 84,920.00 $ 4,795.64
05/31/18 03/01/18 - 03/31/18 s180,169.00 $10,630.80 $144,135.20 310,630.80
07/02/18 04/01/18-04/30/18 $ 49,685.50 $ 5,209.70 Pending Pending

PSZ&J PROFESSIONALS

 

 

 

 

   

Laura Davis J ones

 

 

Partner 2000; Joined Firm
Member of DE Bar since 1986

 

 

 

 

 

 

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x lndividual ,
David M. Bertent al artner 9; Member o ar 975.
since 1993
John A. Morris Partner 2008; Member of NY Bar 8 975.00 0.70 8 682.50
since 1991
Maxim B. Litvak Partner 2004; Member of TX Bar 8 875.00 6.50 8 5,687.50
since 1997; l\/Iember of CA Bar
since 2001
James E. O’Neill Partner 2005; Member of DE Bar 8 850.00 146.40 8124,440.00
since 2001; Member of PA Bar
since 1985
William L. Ramseyer Of Counsel 1989: Member of CA 8 725 .00 21.00 8 15,225.00
Bar since 1980
Joseph l\/l. Mulvihill Associate 2015; Member of DE 8 495.00 139.20 8 68,904.00
Bar since 2014; Member of PA
Bar since 2015
Elizabeth C. Thomas Paralegal 2016 8 375.00 57.20 8 21,450.00
Cheryl A. Knotts Paralegal 2000 8 350.00 8.00 8 2,800.00
Sheryle L. Pitman Case Management Assistant 2001 8 295.00 2.90 8 85 5.50
Charles J. Bouzoukis Case Management Assistant 2001 8 295.00 54.90 8 16,195.50
Karen S. Neil Case Management Assistant 2003 8 295 .00 26.60 8 7,847.00
Grand Total: 8336,004.50
Total Hours: 526.70
Blended Rate: 8 637.94

 

COMPENSATION BY CATEGORY

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Asset Disposition 70.30 8 50,312.50
Appeals 5.40 8 4,257.50
Bankruptcy Litigation 276. 10 8181,245.00
Case Administration 29.20 8 9,415.00
Claims Admin/Objections 13 .20 8 7,413.00
Compensation of Professional 32.30 8 20,569.50
Compensation of Prof/Others 31.80 8 16,790.50
Employee Benefit/Pension 4.00 8 2,228.00
Executory Contracts 22.90 8 13,601.50
Financial Filings 3 .20 8 2,157.00
Financing 18.30 8 11,837.50
Plan & Disclosure Statement 2.20 8 1,520.00
Retention of Prof./Others 1.70 8 1,438.50
Stay Litigation 16.10 8 13,219.00
EXPENSE SUMMARY
EXP€nseCategD¥'?’ 1
~ ' :[ , . “ f»:, ff¥i:f .» ;} » z£,apph_eabfe ,_xpenses
Auto Travel Expense Eagle Transportation; Roadrunner Transportation 8 629.40
Working Meals Scotts 8 6.00
Conference Call AT&T Conference Call; CourtCall 81,028.71
Delivery/Courier Service Advita 82,603.64
Express Mail 8 9.26
Filing Fee Federal Express 8 606.00
Hotel Expense Hotel DuPont 8 591 .50
Legal Research Lexis/Nexis 8 91.13
Court Research Pacer 81,287.40
Postage US Mail 8 10.60
Reproduction Expense 84,193.60
Reproduction/ Scan Copy 86,376.00
Overtime A, Bader 8 87.75
Transcript Reliable Companies 83 ,1 15.15

 

 

 

3 PSZ&J may use one or more service providers The service providers identified herein below are the primary
service providers for the categories described

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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

In rec : Chapter 11
l\/l & G USA CORPORATION, et al.,l Case NO, 17-123()7 (BLS)
Debtors. v (Jointly Administered)

 

Obj.'Deadline: July 23, 2018 at 4:00 p.m. (ET)
Hearing Date: July 25, 2018 at 11:00 a.m. (ET)

SECOND QUARTERLY APPLICATION FOR COMPENSATION
AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
ZIEHL & JONES LLP, AS CO-COUNSEL AND CONFLICTS
COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION,
FOR THE PERIOD FROM FEBRUARY 1, 2018 THR()UGH APRIL 30, 2018

Pursuant to sections 330 and 331 of Title 11 of the United States Code (the
“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the
“Bankruptcy Rules”), and the Court’s “Order Establishing Procedures for Interim Compensation
and Reimbursement of 'Expenses of Professionals,” signed on or about November 30, 2017 (the
“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), co-
counsel and conflicts counsel for the debtors and debtors in possession (“Debtors”), hereby
submits its Second Quarterly Application for Compensation and for Reimbursement of Expenses

for the Period from February l, 2018 through April 30, 2018 (the “Application”).

 

‘ T he Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
Polymers USA, LLC (7593), l\/I & G Finance Corporation (4230), M&G Waters USA, LLC (2195),

Mossi & Ghisolfi International S.a r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.a r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex F ar East, Ltd. (2062) and Indo American
lnvestments, lnc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.

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By this Application PSZ&J seeks an interim allowance of compensation in the
amount of 8336,004.50 and actual and necessary expenses in the amount of 820,636.14 for a
total allowance of 83 56,640.64 and payment of the unpaid amount of such fees and expenses for
the period February 1, 2018 through April 30, 2018 (the “Interim‘Period”). In support of this
Application, PSZ&J respectfully represents as follows:

Backgrouiid

1. On October 24, 2017, Debtor M&G Polymers USA, LLC filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code and, thereafter, on October 30, 2017,
each of the other Debtors commenced chapter 11 cases before this Court. The Debtors continue
in possession of their property and continue to operate and manage their businesses as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or
examiner has been appointed in the Debtors’ chapter 11 cases.

2. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

3. On or about November 30, 2017, the Court signed the Adrninistrative
Order, authorizing certain professionals (“Professionals”) to submit monthly applications for
interim compensation and reimbursement for expenses, pursuant to the procedures specified
therein. The Administrative Order provides, among other things, that a Professional may submit
monthly fee applications If no objections are made within twenty-one (21) days after service of
the monthly fee application the Debtors are authorized to pay the Professional eighty percent

(80%) of the requested fees and one hundred percent (100%) of the requested expenses

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Beginning with the period ending on January 31, 2018, at three-month intervals, each of the
Professionals will file and serve an interim fee application for compensation and reimbursement
of expenses sought in its monthly fee applications for that period. All fees andexpenses paid are
on an interim basis until final allowance by the Court.

4. Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy
Code must comply with certain requirements of the United States Trustee’s Guidelines for
Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11
U.S.C. §330 by Attorneys in Larger Chapter 11 Case`s (the “Revised UST Guidelines”). The
Office of the United States Trustee has promulgated forms to aid in compliance with the Revised
UST Guidelines. Charts and tables based on such forms are attached hereto as exhibits and filled
out with data to the extent relevant to these cases: Exhibit “A”, Customary and Comparable
Compensation Disclosures with Fee Applications; Exhibit “B”, Summary of Timekeepers
lncluded in this Fee Application, Exhibit “C-l”, Budget; Exhibit “C-2”, Staffing Plan; Exhibit
“D-l”, Summary of Compensation Requested by Proj ect Category; Exhibit “D-2”, Summary of
Expense Reimbursement Requested by Category; and Exhibit “E”, Summary Cover Sheet of Fee
Application.

5. The retention of PSZ&J, as co-counsel and conflicts counsel for the
Debtors, was approved effective as of October 30, 2017 by this Court’s “Order Pursuant to
Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure
and Local Rule 2014-1 Authorizing the Employment and Retention of Pachulski Stang Ziehl &

Jones LLP as Co-Counsel and Conf1icts Counsel for the Debtors and Debtors in Possess'ion szc

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Pro Tunc to the Petition Date,” signed on or about November 30, 2017 (the “Retention Order”).
The Retention Order authorized PSZ&J to be compensated on an hourly basis and to be
reimbursed for actual and necessary out-of-pocl<et expenses

PSZ&J’s APPLICATION F()R COMPENSATION AND
FOR REIMBURSEMENT OF EXPENSES

Compensation Paid and Its Source

6. The monthly fee applications (the “Monthly Fee Applications”) for the
periods February l, 2018 through April 30, 2018 of PSZ&J have been filed and served pursuant
to the Administrative Order.

7. On May 22, 2018, PSZ&J filed its Fourth Monthly Application for
Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & J ones LLP, as Co-
Counsel and Conf`licts Counsel for the Debtors and Debtors in Possession, for the Period from
February 1, 2018 through February 28, 2018 (the “Fourth Monthly Fee Application”) requesting
8106,150.00 in fees and 84,795.64 in expenses Pursuant to the Administrative Order, PSZ&J
has been paid 884,920.00 of the fees and 84,795.64 of the expenses requested in the Fourth
Monthly Fee Application. A true and correct copy of the Fourth Monthly Fee Application is
attached hereto as Exhibit F.

8. On May 31, 2018, PSZ&J filed its Fifth Monthly Application for
Compensation and Reimbursernent of Expenses of Pachulski Stang Ziehl & J ones LLP, as Co-
Counsel and Conflicts Counsel for the Debtors and Debtors in Possession, for the Period from
March 1, 2018 through March 31, 2018 (the “Fifth Monthly Fee Application”) requesting

8180,169.00 in fees and 810,630.80 in expenses PSZ&J LLP has not received any fees or

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expenses requested in the Fifth Monthly Fee Application. A true and correct copy of the Fifth
l\/lonthly Fee Application is attached hereto as Exhibit G.

9. On July 2, 2018, PSZ&J filed its Sixth l\/lonthly Application for
Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & 1 ones LLP, as Co-
Counsel and Conflicts Counsel for the Debtors and Debtors in Possession, for the Period from
April 1, 2018 through April 30, 2018 (the “Sixth Monthly Fee Application”) requesting
849,685.50 in fees and 85,209.70 in expenses The Sixth Monthly Fee Application is pending
A true and correct copy of the Sixth Monthly Fee Application is attached hereto as Exhibit H.

10. The l\/lonthly Fee Applications covered by this Application contain
detailed daily time logs describing the actual and necessary services provided by PSZ&J during
the periods covered by such applications as well as other detailed information required to be
included in fee applications

Reguested Relief

11. By this Application, PSZ&J requests that the Court approve payment of
one-hundred percent (100%) of the fees and expenses incurred by PSZ&J during the Interim
Period of February l, 2018 through April 30, 2018.

12. At all relevant times, PSZ&J has not represented, and does not represent,
any party having an interest adverse to the case.

13. All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors

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14. PSZ&J has received no payment and no promises for payment from any
source other than from the Debtors for services rendered or to be rendered in any capacity
whatsoever in connection with the matters covered by this Application. There is no agreement or
understanding between PSZ&J and any other person other than the partners of PSZ&J for the
sharing of compensation to be received for services rendered in this case. PSZ&J has received
payments from the Debtors during the year prior to the Petition Date in the amount of 8200,000,
in connection with the preparation of initial documents and its prepetition representation of the
Debtors Upon final reconciliation of the amount actually expended prepetition, any balance
remaining from the prepetition payments to PSZ&J was credited to the Debtors and utilized as
PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation
procedures approved by this Court in accordance with the Bankruptcy Code.

15. The professional services and related expenses for which PSZ&J requests
interim allowance of compensation and reimbursement of expenses were rendered and incurred
in connection with this case in the discharge of PSZ&J’s professional responsibilities as
attorneys for the Debtors in these chapter 11 cases PSZ&J’s services have been necessary and
beneficial to the Debtors and their estates, the Committee, creditors and other parties in interest

16. In accordance with the factors enumerated in section 330 of the
Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and
reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent
of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Banl<ruptcy Code. Moreover, PSZ&J has reviewed the

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requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.

Statement from PSZ&J

17. Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PSZ&J responds to the following questions regarding the Application:

 

Question

Yes

No

Additional
Explanatioii or
Clarification

 

Did you agree to any variations from, or
alternatives to, your standard or customary
billing rates, fees or terms for services
pertaining to this engagement that were
provided during the application period? lf
so, please explain.

 

If the fees sought in this fee application as
compared to the fees budgeted for the
time period covered by this fee application
higher by 10% or more, did you discuss
the reasons for the variation with the
client?

N/A

 

Have any of the professionals included in
this fee application varied their hourly rate
based on the geographic location of the
bankruptcy case?

No

 

Does the fee application include time or
fees related to reviewing or revising time
records or preparing, reviewing, or
revising invoices?

No

 

 

Does this fee application include time or
fees for reviewing time records to redact
any privileged or other confidential
information? If so, please quantify by
hours and fees

 

 

 

 

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lf the fee application includes any rate i. Yes N/A

increases since retention in these Cases: ii. Yes
i. Did your client review and
approve those rate increases in
advance?
ii. Did your client agree when

retaining the law firm to accept
all future rate increases? 1fnot,
did you inform your client that
they need not agree to
modified rates or terms in
order to have you continue the
representation, consistent with
ABA Formal Ethics Opinion
11-458?

 

 

 

 

WHEREFGRE, PSZ&J respectfully requests that the Court enter an order, in the
form attached hereto, providing that an interim allowance be made to PSZ&J for the period from
February 1, 2018 through April 30, 2018 in the sum of 8336,004.50 as compensation for
necessary professional services rendered, and actual and necessary expenses in the amount of
820,636. 14 for a total of 835 6,640.64; that the Debtors be authorized and directed to pay to
PSZ&J the outstanding amount of such sums; and for such other and further relief as may be just
and proper.

Dated: Juld, 2018 PACHULSKI STANG ZIEHL & JONES LLP

  
     

James`E. o’Neiii (DE Bar NO. 4042)
Joseph l\/I. Mulvihill (DE Bar No. 6061)
919 N. Market Street, 17th Floor
P.O. Box 8705
Wilmington, DE 19899-8705 (Courier 19801)
Telephone: (302) 652-4100
Facsimile: (302) 652-4400

Co-Counsel and Conflicts Counsel for the
Debtors and Debtors in Possession

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VERIFICATI()N

STATE OF DELAWARE

COUNTY OF NEW CASTLE

Laura Davis Jones, after being duly sworn according to law, deposes and says:

a) 1 am a partner with the applicant law firm Pachulski Stang Ziehl & J ones
LLP, and have been admitted to appear before this Court.

b) 1 am familiar with the work performed on behalf of the Debtors by the
lawyers and paraprofessionals of PSZ&J.

c) 1 have reviewed the foregoing Application and the facts set forth therein
are true and correct to the best of my knowledge, information and belief. Moreover, 1 have
reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about November 30,

2017, and submit that the Application substantially complies with such Rule and Order.

   
   
 

Laura ljavis Jones

SWORN AND SU SCRIBED -'
before me this ill day of , 2018.

     
      

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Notary Pub\ic
State of Delaware
My Commission Expires on Mar 27. 2019

 
 

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